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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

                                                 )
Inter-Tour Louisiane, Inc. d/b/a Tours by        )   C.A. No. 2:10-MD-2179
Isabelle                                         )              c/w 2:10-CV-2103
                                                 )
                                    Plaintiff,   )   Judge Barbier
                                                 )
                       v.                        )   Mag. Judge Shushan
                                                 )
TRANSOCEAN LTD, ET AL                            )
                                                 )   CLASS ACTION COMPLAINT
                                                 )
                                                 )


                                            ORDER

       The foregoing motion considered:

       IT IS ORDERED that Walter J. Leger, Jr. (Bar #8278), Franklin G. Shaw (Bar # 1594),

Walter J. Leger, III (Bar # 28656) and Christine E. Sevin (Bar #32683) of the firm Leger & Shaw,

600 Carondelet Street, 9th Floor, New Orleans, Louisiana, 70130, be and is hereby enrolled as lead

counsel of record for plaintiffs, Inter-Tour Louisiane, Inc. d/b/a Tours by Isabelle in these

proceedings.

       New Orleans, Louisiana, this ________ day of _____________________, 2010.


                                                     ___________________________________
                                                     DISTRICT COURT JUDGE
